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     Attorneys for Defendant Andrea Schuck
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 6
 7                        UNITED STATES DISTRICT COURT
 8                      SOUTHERN DISTRICT OF CALIFORNIA
 9
10   ROBERT EMERT,                                 Case No. 23-cv-0230-RSH-AHG
                                          )
11                          Plaintiff,    )
                                          )        REQUEST FOR JUDICIAL NOTICE
12   vs.                                  )        IN SUPPORT OF DEFENDANT
                                          )        ANDREA SCHUCK’S MOTION TO
     LUIS VENA; ANDREA SCHUCK;            )        DISMISS PLAINTIFF’S
13                                        )
     MATTHEW W. CORD; PATTI C.            )        COMPLAINT AGAINST HER
14   RATEKIN; DAVID S. SCHULMAN;          )        PURSUANT TO FRCP 12(b)(1) and
     LORNA A. ALKSNE; DAVID J.                     12(b)(6)
15   DANIELSEN; MOORE, SCHULMAN & ))
     MOORE; ROBERT OLAGUE; AND            )        Judge:     Hon. Robert S. Huie
16   DOES 1 – 20 inclusive,               )        Courtroom: 3B
                                          )        Date:      April 4, 2023
17                                        )
                              Defendants. )        PER CHAMBERS RULES, NO ORAL
18                                        )        ARGUMENT UNLESS SEPARATELY
                                          )
19                                                 ORDERED BY THE COURT.

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                  Request For Judicial Notice in Support of Motion to Dismiss
                                               1
                                                                                23-cv-0230-RSH-AHG
 1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that, pursuant to Federal Rules of Evidence 201 (b)(2),
 3   Defendant Andrea Schuck. respectfully requests that, in considering Defendant Andrea
 4   Schuck’s Motion to Dismiss this Court take judicial notice of the following exhibit
 5   attached, herewith:
 6         Exhibit 1 (Page 3)          Findings And Order After Hearing for Case Number:
 7                         19FL010852N dated 10.7.2021.
 8         Exhibit 2 (Page 8)          Findings And Order After Hearing for Case Number:
 9                         19FL010852N dated 10.12.2021.
10         Exhibit 3 (Page 12)         Judgement rendered for Case Number: 19FL010852N
11                         filed on 1.24.2022.
12
13                                               PQS LAW
14
     Dated:    February 28, 2023                 By: /S/ Peter Q. Schluederberg
15                                               Peter Q. Schluederberg, Esq.
                                                 Attorneys for Defendant Andrea Schuck
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                   Request For Judicial Notice in Support of Motion to Dismiss
                                                     2
                                                                                  23-cv-0230-RSH-AHG
                      ROBERT EMERT
                             Vs.
  LUIS VENA; ANDREA SCHUCK; MATTHEW W. CORD; PATTI C.
  RATEKIN; DAVID S. SCHULMAN; LORNA A. ALKSNE; DAVID J.
DANIELSEN; MOORE, SCHULMAN & MOORE; ROBERT OLAGUE; AND
                     DOES 1 – 20 inclusive,




  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT
          ANDREA SCHUCK’S MOTION TO DISMISS




                       EXHIBIT 1
 1   MARRIAGE OF EMERT; CASE NO. 19FL010852N
     ATTACHMENT TO FINDINGS AND ORDER AFTER HEARING
 2
 3   GOOD CAUSE APPEARING THEREFORE,

 4            The Request for Order of Minor's Counsel, Matt Cord, Esq., for temporary

 5   orders on the issues of supervised visitation for the minor children, pending the

 6   trial set for November 29, 2021 and November 30, 2021, came on for hearing by

 7   the court on October 7, 2021, at 10:00a.m. in of the San Diego Superior Court,

 8   Family Court, before Lorna L. Alksne, Judge Presiding.

 9            The Court ordered all parties to be physically present in the Presiding Judge's

10   department. Petitioner Andrea Emert's counsel, Sarah B. Bear, Esq., was provided

11   the ability to appear virtually due to COVID related symptoms. Petitioner's counsel

12   sought leave of the court prior to the hearing. Respondent failed to appear in person

13   at 10:00 a.m. Therefore, the court trailed the matter to 1 :30 p.m., in order to allow

14   Respondent, Robert Emert the ability to appear in person, per the Court's prior

15   order.

16            Petitioner, Andrea Emert appeared in person and her counsel Sarah B. Bear,

17   Esq, appeared telephonically. Respondent, Robert Emert appeared in person.

18   Respondent is a self-represented litigant. Attorney Cathryn Young, Esq., attorney

19   for minor child S          E     , and Attorney Matt Cord, Esq., _attorney for minor

20   child B       E      appeared in person.

21            The Court, from the parties' declarations and through their respective

22   attorneys' argument, made the following findings and orders:

23            1.       The Court confirmed the orders previously made by Commissioner

24   Ratekin on September 29, 2021, as well as the order made by Honorable Paula

25   Rosenstein on October 5, 2021, stating the minor child B                     E   is to be

26   returned to Petitioner forthwith, resume in-person learning, and Respondent is to

27   have supervised contact.

2s   / / /
                                                       1
                            Attachment to 10-07-21 Findings and Order After Hearing
                                                                                          MSM
 1           2.    The Court repeated to Respondent that the orders were already in

 2   effect and at the time of the hearing, he was violating the orders made by prior

 3   judicial officers.

 4           3.    Pursuant to Family Code 3011, the Court modified the orders made on

 5   September 29, 2021 and October 5, 2021 as follows:

 6                 a. Respondent is to only have supervised visitation with both minor

 7                    children (S      and B      Emert) forthwith. Supervised visitation

 8                    shall be conducted by either a mutually agreeable supervisor or

 9                    professionally supervised. In the event the contact with the minor

10                    children    is   to   be   professionally   supervised,   Respondent   1s

11                    responsible for all cost associated with the visitation.

12                 b. Any form of telephonic, text message, email or virtual contact

13                    Respondent has with the minor child must be supervised.

14                 c. Petitioner is to have sole legal and physical custody of both minor

15                    children.

16           4.   The Court ordered the minor child, B               E       to be returned to

17   Petitioner's care forthwith and for the minor child to resume in-person learning by

18   October 8, 2021. If the orders were not followed, the Court ordered the parties to

19   return on October 11, 2021. (It should be noted October 11, 2021 was a court

20   holiday- the Court meant to say October 12, 2021)

21           5.   The Court admonished Respondent of the improper conduct of

22   allowing a third-party to secretly listen in on a therapeutic appointment.

23   Respondent confirmed he had five (5) adults listen into said appointment.

24           6.      Respondent misrepresented the facts to the Court, as it related to

25   his conduct with the school and the existence of a Temporary Restraining Order

26   against Minor Counsel Matt Cord, Esq.

27   / / /

28   III
                                                      2
                          Attachment to 10-07-21 Findings and Order After Hearing        :k-
                                                                                         MSM
                      ROBERT EMERT
                             Vs.
  LUIS VENA; ANDREA SCHUCK; MATTHEW W. CORD; PATTI C.
  RATEKIN; DAVID S. SCHULMAN; LORNA A. ALKSNE; DAVID J.
DANIELSEN; MOORE, SCHULMAN & MOORE; ROBERT OLAGUE; AND
                     DOES 1 – 20 inclusive,




  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT
          ANDREA SCHUCK’S MOTION TO DISMISS




                       EXHIBIT 2
 1   MARRIAGE OF EMERT; CASE NO. 19FL010852N
     ATTACHMENT TO FINDINGS AND ORDER AFTER HEARING
 2
 3   GOOD CAUSE APPEARING THEREFORE,
 4         The Request for Order of Minor's Counsel, Matt Cord, Esq. for temporary
 5   orders on the issues of supervised visitation for the minor children, pending the
 6   trial set for November 29, 2021 and November 30, 2021, came on for hearing by
 7   the court on October 12, 2021, at 9:00a.m. in the San Diego Superior Court, Family
 8   Court, before Lorna L. Alksne, Judge Presiding. The hearing was a result of
 9   Respondent's failure to follow the orders made on October 7, 2021.
10         Petitioner, Andrea Emert appeared in person, as did her counsel Sarah B.
11   B ear, Esq. Attorney Cathryn Young, Esq., attorney for minor child S              E
12   and Attorney Matt Cord, Esq., attorney for minor child B         E    , each appeared
13   in person. Despite the order to appear in person and notice given of the hearing by
14   counsel and the Court, Respondent, Robert Emert, self-represented litigant, failed
15   to appear in person and filed for a disability waiver.
16         The Court, from the parties' declarations and through their respective
17   attorneys' argument, made the following findings and orders:
18         1.      The Court confirmed Respondent remains in violation of the order, as
19   the minor B      E    was not to returned to Petitioner's care and remains out of
20   school, despite the orders in effect.
21         2.      Pursuant to Family Code section 3011, the Court modified the orders
22   made on October 7, 2021, as follows:
23                 a. Respondent is to have no contact with either minor child (B            or
24                    S    E) pending the trial on November 29, 2021.
25                 b. Petitioner retains sole legal and physical custody of the minor
26                    children pending the trial on November 29, 2021.
27                 c. As Petitioner remains to have sole legal custody of the children,
28                    Respondent does not have any authority to speak with the minor
                                                     1
                          Attachment to 10-12-21 Findings and Order After Hearing
                                                                                           MSM
                      ROBERT EMERT
                             Vs.
  LUIS VENA; ANDREA SCHUCK; MATTHEW W. CORD; PATTI C.
  RATEKIN; DAVID S. SCHULMAN; LORNA A. ALKSNE; DAVID J.
DANIELSEN; MOORE, SCHULMAN & MOORE; ROBERT OLAGUE; AND
                     DOES 1 – 20 inclusive,




  REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT
          ANDREA SCHUCK’S MOTION TO DISMISS




                       EXHIBIT 3
                                                                                                                                                    FL-180
      CASE NAME (Last namo, first name ol tJach patty):                                                     CASE NUMBER:

   - MARRIAGE OF EMERT                                                                                      19FL010852N

  4. I. lXl The children ofthJs marriage or dome&tlc partnership are:
            (1)      NameID                                                                         Blrthdate
                               B       E
                               S       E


       J,
                   (2)   □     Parentage Is �stabllshed for children of this relationship born prior to the marriage or domestic partnership
            IXl Child custody and vlsit$Uon (parenting time) are ordered as set forth ln the attached
                   (1)W Settlement agteement, stlpulatlon for Judgme�t, o� other written agreement which contains the Information
                        required by Family Code section 3048(a). wntten onler by aefault
                  (2) 0 Child Custody and Visitation Orr/er Attachment (form FL-341).
                (3)
                (4)
                         □
                        Stlpufatlon and Order for Custody and/or Visitation of Children (form FL-355).
                         □
                        Previously established In another case. Case number:                              Court:
        k. IX] Child support Is ordered as set forth In the attached
                (1) IXl Settlement agreement, stipulation for Judgment, or other written agreement which contains the declarations
                        required by Famtty Code section 4065(a). written order by ilefault
               (2)
               (3)
                         □
                        Child Support Information and Order Attachment (form FL-342).
                         □
                        Stipulation to Establish or Modify Child Support and Order (form FL-350).
               (4)       □
                        Previously established In another case. Case number:
       /. !XI Spousal. domestic partner, or family support Is ordered:
                                                                                                             Court:

               (1)
               (2)
                         □
                        Reserved for future determination as relates to
                         □
                                                                                □
                                                                               petitioner
                        Jurisdiction terminated to order spousal or partner support to         D
                                                                                                   □
                                                                                                 respondent
                                                                                              petitioner          □
                                                                                                               respondent
               (3)       0
                        As set forth In the attached Spousal, Partner. or Family Support Order Attaehment (form FL--343).
               (4)       □
                        As set forth In the attached settlement agreement, stlputatron for Judgment, or other written agreement.
               (5) (iO Other (specify): Attached written order by default

      m.(XI Property division la ord•red as set forth In the attached
            (1)
            (2)
                         □
                    Settlement ag�eemenL. $tlpulatton for Judgment, ,or other written agreement.
                         □
                    Property OrderAttachment to Judgment (form FL-345).
            (3) [il other (spt1clfy}: Attached written order by default

      n.    ID Attorney fees and costs are ordered as set forth in the attached
                 (1)
                 (2)
                       □ Attorney Fees and Costs Order
                       □     Settlement agreement, stipulation for judgment, or other written agreement.
                                                            (form FL-346).
                 (3}   lD      (specify): Attached written order by default
                             Other

      o. IXJ Other (sp8Clfy): Reimbursements and Sanctions were ordered by the Court, Court made orders regarding
                              Minor's
Each attachment to this judgment ls fncorporated Into this judgment, and the parties are or                                   each attachment's
provisions. Jurisdiction Is reserved to make other orders necessary to carry out this j • dgrn
Date:           /.,,�y_,.�t) �,1_                                                                               JUDICIAL OFFICER
                                   6_____
5. Number ofpages attached: ..,.,,1...                                            □    SIGNATURE FOLLOWS LAST ATTACHMENT           LOR   NA• ,ALKSft.
                                                                                                                                              • • ••
                                                                                                                                                     , 1,'IE
                                                                                                                                                           •

                                                                     NOTICE
  Dissolution orlegal separation may automatically cancel the rights of a spouse or domestic partner under the other spouse's or
  domestic partner's will, trust, retirement plan, power of attomey, pay-on-death bank account, transfer-on-death vehicle registration,
  survivorship rights to any property owned In joint tenancy, and any other similar property interest. It does not automatically cancel the
  rights of a spouse or domestic partner as beneficiary of the other spouse's or domestic partner's llfe insurance pollcy. You should
  review 1hese matters, as well as any credit cards, other credit accounts, Insurance policies, retirement plans, and credit reports, to
  determine whether they should be changed or whether you should take any other actions.
  A debt or obllgatlon may be assigned to one party as part of the dissolution of property and debts, but If that party does not pay the




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  debt or obllgaUon, the creditor mc:tY be able to collect from the other party.
  An earnings assignment may be issued without addlUonal proof If chlld, family, partner, or spousal support Is ordered.
  Any party required to pay support must pay Interest on overdue amounts at the "legal rate," which Is currently 10 percent.
FL-180 !Rev, July 1, 2012)                                              JUDGMENT                                                                  Paga 2of 2

                                                                        (Famlly Law)
                                                                                                           EMERT, ANDREA #30437
MARRIAGB OF EMERT                                      CASE NO. 19FL010852N
                    ATTACHMENT TO
 JUDGMENT ON RESERVED ISSUES AFTER DEFAULT TRIAL (FL-180)
                 The parties were ordered to appear in person for the trial, which was

scheduled to begin on November 29, 2021, at 9:00 a.m. before Honorable Lorna

Alksne in Department 1002. The Court previously ordered all parties must

attend all hearings in-person, unless the Court provides permission in advance

of said hearing. Prior to the contested trial, no party requested permission to

appear virtually. Therefore, the order for all parties to appear in person

remained in full force and effect.

             On November 29, 2021, Petitioner, Andrea Emert appeared in­
person, along with her counsel, Sarah B. Bear, Esq. _Matthew Cord, Esq., the

attorney appointed for the minor child B           E    , appeared in-person,. as did

Cathryn Young, •Esq., the attorney appointed for the minor child S              E    .

Respondent Robert Emert, a self-represented litigant, failed to appear in person

for the trial.

             Prior to the commencement of the trial, Respondent noticed an ex

parte hearing. The ex parte hearing was denied by the Court. Due to

Respondent's failure to adhere to the court order to appear in-person, the Court

proceeded with a default trial.

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             III
                  After hearing the arguments of counsel, offers of proof by Petitioner's

 counsel and reviewing the evidence admitted, the Court made the following

 orders contained below. The parties to these orders are Petitioner Andrea L.
 Emert, hereinafter referred to as "Petitioner." and Respondent Robert Emert,

 hereinafter referred to as "Respondent."

I.       STATISTICAL INFORMATION


                  The parties were married on September 30, 2006 and separated on

August 19, 2019. The duration of their marriage was twelve (12) years and ten

( 10) months. The parties Martial Status was previously terminated by the Court
effective June 24, 2021 and a partial judgment was entered on June 24, 2021.

                  The parties have the following minor children:

                  Name                     Birth Date                Age          Sex

     B        E                                               14           M

     S        E                                               12           F

         1.       HOUSEHOLD FURNISHINGS

                  The Court determined there was an inequitable division of

household furnishings. Respondent received $2,000.00 more in household

furnishings than Petitioner. This amount was offset by the inequitable division
of vehicles as stated below.

                  III
                  III

                                            -2-
 16).       Therefore, Respondent's interest in Petitioner)s CALSTRS retirement

account is $194.26, The remained of the account is award to Petitioner as her

sole and separate property.

        9.      BUSBAND'S RETIREMENT ACCOUNTS

                Respondent stated in discovery responses that he has a retirement

account from Chase Bank valued between $10,000 and $12,000.00. The Court

awarded Petitioner $6,000.00 of the account which shall be offset by

Respondent's interest in Petitioner's CALSTRS retirement.

        10.     CUSTODY AND VISITATION

                The • Court awarded sole legal and physical custody of the minor

children to Petitioner. Respondent shall have no contact with the minor child,

B       E     . Respondent shall have no visitation with the minor child, S     E.

Respondent is permitted to have telephonic contact with minor child, S E

provided the minor child consents. S          E   is permitted to cease telephonic

communication with Respondent at her discretion.

               The Court orders counseling for the minor children under �amily

Code 3190. The Court made custody and visitation orders in the children's best

interest (Family Code 3011) and made Family Code 3942 findings.
               The Court finds that Respondent is not following the court orders
and is in current violation of the court orders as it relates to child custody and
visitation. The Court finds Respondent is not following the court orders and is
violating the court orders as it relates to school and specifically attendance of

                                        -5-
 the minor child, B      E    . The minor child has not attended school since

 October 4, 2021. Respondent has failed to return the minor child, B       E    to

 Petitioner's care despite court order.
                                  t
             Respondent has obstruced the minor B              E    's ability to

 receive the services he needs as he is on the Autism Spectrum. B    E    has not

 received the service mandated by his Individual Educational Plan due to

 Respondent's refusal to return the child to school. B   E   has not received the

 therapeutic services (cognitive and behavioral therapy) due to Respondent's

 refusal to return the child to Petitioner's custody. Due to his conduct resulting

 in medical providers being unwilling to treat child.

            Respondent has failed to comply with the court ordered Family Code

 730 evaluation. In. the event Respondent seeks to comply with the court ordered

 Family Code 730 evaluation, he is to obtain three names of professionals to

 conduct the evaluation from. Petitioner. Respondent is to select one name from

 the names provided by Petitioner.

      11.   MANDATORY CUSTODY/VISITATJON (FC 3048).

            The Court made Family Code 3048 findings. The Court has
jurisdiction over the minor children, as California is the Children's home
state, no other state has assumed jurisdiction, and this Court is the
appropriate forum. The habitual residence of the Children is the County of
San Diego, State of California, United States of America. The parties were
given notice and opportunity to be heard in the manner provided by law.


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       15.   ATTORNEY'S FEES AND SANCTIONS

             Petitioner's request for attorney's fees under Family Code 2030 was

denied.

             Petitioner's request for sanctions pursuant to Family Code 271 was

granted and the Petitioner was awarded $25,000.00m which is to be deducted
from Respondent's interest in Petitioner's CALSTRS retirement account. The

Court determined sanctions were warranted due to Respondent's conduct

Respondent's· conduct did not promote settlement, but rather promoted

litigation. The Court found that Respondent repeatedly violated court orders and

remained in violation of court orders at the time of trial. Respondent's conduct

has resulted in three medical professionals and an entire practice refusing to

treat their children with their therapeutic needs.

             Respondent refused to return the minor child, B      E    to the care

and custody of Petitioner despite the court order. His repeated violations of the

court order caused unnecessary legal fees and hearings to be scheduled in an

attempt to have Respondent honor the court orders.

             Respondent removed the child from the state, which is a further

violation of the Court order.
             Respondent refused to allow the child to return to school, which
prevent him for receiving not only his education but the services associated with
his IEP.

III
                                      .. 11.
